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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §                     2:03-CR-19(31)
                                                  §
 CHARLES COATS                                    §

                          REPORT AND RECOMMENDATION OF
                        THE UNITED STATES MAGISTRATE JUDGE

        On July 24, 2008, the court held a hearing on the government’s petition (#1097) to revoke

 supervised release. The government was represented by Assistant United States Attorney Mr. Jim

 Noble. The defendant was represented by Mr. Wayne Dickey.

        Charles Coats was sentenced on July 8, 2004, before the Honorable T. John Ward, United

 States District Judge for the Eastern District of Texas – Marshall Division, after pleading guilty to

 the offense of felon in possession of a firearm, a Class C felony. This offense carried a statutory

 maximum imprisonment term of not more than 10 years. The guideline imprisonment range, based

 on a total offense level of 17 and a criminal history category of II, was 27 to 33 months. Charles

 Coats was subsequently sentenced to 30 months imprisonment followed by 3 years of supervised

 release subject to the standard conditions of release, plus special conditions to include drug aftercare

 and financial disclosure. On October 17, 2006, Charles Coats completed his period of imprisonment

 and began service of the supervision term.

        On June 23, 2008, the instant petition to revoke was filed. In its petition, the government

 alleges the defendant violated the following condition:

        1) The defendant shall not commit another federal, state, or local crime. Specifically, the

 government alleges as follows: On October 8, 2007, Charles Coats was arrested for the offense of

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 possession of a controlled substance. On April 11, 2008, Mr. Coats plead guilty to the offense of

 possession of a controlled substance, and was subsequently sentenced to 20 years in the Institutional

 Division of the Texas Department of Corrections.

        The court scheduled a revocation hearing for July 24, 2008. At the hearing on the

 government’s petition, and after consenting to the undersigned’s taking the plea, the defendant pled

 true to the allegation set forth above. Based on the defendant’s plea of true to this allegation, and

 with no objection by the defendant or the government, the court found that the defendant did violate

 his conditions of supervised release as alleged in the U.S. Probation Office’s petition.

        The court thereafter recommended that the defendant be committed to the custody of the

 Bureau of Prisons to be imprisoned for a term of 9 months with no term of supervised release to

 follow such term of imprisonment. The court further recommends that the defendant be placed by

 the Bureau of Prisons within its Seagoville, Texas, facility during the period of his confinement.

 Based on the foregoing, it is

        RECOMMENDED that the defendant’s plea of true to the allegation as set forth in the

 government’s petition be ACCEPTED. Based upon the defendant’s plea of true to this allegation,

 it is further recommended that the court find that the defendant violated the conditions of his

 supervised release. It is further

        RECOMMENDED that the defendant’s supervised release be REVOKED. It is further

        RECOMMENDED that the defendant be committed to the custody of the Bureau of Prisons

 to be imprisoned for a term of 9 months with no term of supervised release to follow such term of

 imprisonment. It is further

        RECOMMENDED that the court request that the Bureau of Prisons place the defendant in


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 its Seagoville, Texas, facility during the period of his confinement.

        During the hearing, each party waived its right to file objections to this report and

 recommendation.

       SIGNED this 5th day of August, 2008.




                                                      ___________________________________
                                                      CHARLES EVERINGHAM IV
                                                      UNITED STATES MAGISTRATE JUDGE




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